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                                            2:25-CV-03380-SVW-JPRx
                                             UNITED STATES JUDICIAL PANEL
                                                          on                                     MAY - 2 2025
                                              MULTIDISTRICT LITIGATION
                                                                                                         rsm

          IN RE: GOODRX AND PHARMACY BENEFIT
          MANAGER ANTITRUST LITIGATION (NO. II)                                                            MDL No. 3148
AIDS Healthcare Foundation v. Good Rx, Inc. et al

                                                 (SEE ATTACHED SCHEDULE)



                                        CONDITIONAL TRANSFER ORDER (CTO −4)



          On April 2, 2025, the Panel transferred 10 civil action(s) to the United States District Court for the District of
          Rhode Island for coordinated or consolidated pretrial proceedings pursuant to 28 U.S.C. § 1407. See
          _F.Supp.3d_ (J.P.M.L. 2025). Since that time, 9 additional action(s) have been transferred to the District of
          Rhode Island. With the consent of that court, all such actions have been assigned to the Honorable Mary S.
          McElroy.
          It appears that the action(s) on this conditional transfer order involve questions of fact that are common to the
          actions previously transferred to the District of Rhode Island and assigned to Judge McElroy.

          Pursuant to Rule 7.1 of the Rules of Procedure of the United States Judicial Panel on Multidistrict Litigation,
          the action(s) on the attached schedule are transferred under 28 U.S.C. § 1407 to the District of Rhode Island
          for the reasons stated in the order of April 2, 2025, and, with the consent of that court, assigned to the
          Honorable Mary S. McElroy.

          This order does not become effective until it is filed in the Office of the Clerk of the United States District
          Court for the District of Rhode Island. The transmittal of this order to said Clerk shall be stayed 7 days from
          the entry thereof. If any party files a notice of opposition with the Clerk of the Panel within this 7−day period,
          the stay will be continued until further order of the Panel.



                                                                      FOR THE PANEL:

                         May 01, 2025

                                                                      James V. Ingold
                                                                      Clerk of the Panel
                  CERTIFIED COPY
        I HEREBY CERTIFY THIS DOCUMENT IS A
  TRUE AND CORRECT COPY OF THE ORIGINAL ON FILE
       IN MY OFFICE AND IN MY LEGAL CUSTODY

       U.S. DISTRICT COURT – PROVIDENCE, RI
                  CLERK OF COURT
                                                                                   05/01/2025
         Michael Simoncelli         05/01/2025
     By: ________________ Date: _______________
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  IN RE: GOODRX AND PHARMACY BENEFIT
  MANAGER ANTITRUST LITIGATION (NO. II)                                       MDL No. 3148



                       SCHEDULE CTO−4 − TAG−ALONG ACTIONS



    DIST     DIV.       C.A.NO.    CASE CAPTION


  CALIFORNIA CENTRAL

     CAC      2        25−03380    AIDS Healthcare Foundation v. GoodRx, Inc. et al
